Case 1:18-cv-02561-RBJ Document 2 Filed 10/05/18 USDC Colorado Page 1 of 2




                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO


Civil Action No.

PRECISION DISCOVERY, INC. f/k/a PRECISION DISCOVERY, LLC, a New York
Corporation

Plaintiff,

v.

HITACHI VANTARA CORPORATION f/k/a HITACHI DATA SYSTEMS CORPORATION
a Delaware Corporation,
COLD CREEK SOLUTIONS, INC., a Colorado Corporation

Defendants.

 PLAINTIFF PRECISION DISCOVERY’S CORPORATE DISCLOSURE STATEMENT
                    PURSUANT TO FED. R. CIV. P. 7.1

         COMES NOW Precision Discovery, by and through its counsel, Harris,

Karstaedt, Jamison & Powers, P.C., hereby submits its corporate disclosure statement

pursuant to Fed. R. Civ. P. 7.1.

         1.        Fed. R. Civ. P. 7.1 requires “[a] nongovernmental corporate party” to file a

disclosure statement that, inter alia, “identifies any parent corporation and any publicly

held corporation owning 10% or more of its stock.”

         2.        Plaintiff Precision Discovery was at all relevant times a New York

Corporation with principal offices in New York.

         3.        Plaintiff has no parent corporation or publicly held corporation that owns

more than 10% of Plaintiff’s stock.




{3350.0051 Doc #:01222273;l}
Case 1:18-cv-02561-RBJ Document 2 Filed 10/05/18 USDC Colorado Page 2 of 2




         Respectfully submitted this 5th day of October, 2018.




                                            s/ Jamey W. Jamison
                                            Jamey W. Jamison
                                            Dino G. Moncecchi
                                            HARRIS, KARSTAEDT, JAMISON & POWERS, P.C.
                                            10333 E. Dry Creek Road, Suite 300
                                            Englewood, Colorado 80112
                                            Phone: 720-875-9140
                                            Fax:    720-875-9141
                                            jjamison@hkjp.com

                                            ATTORNEY FOR PLAINTIFF




                               CERTIFICATE OF SERVICE

      I certify that on this 5th day of October, 2018, I electronically filed PLAINTIFF
PRECISION DISCOVERY’S CORPORATE DISCLOSURE STATEMENT PURSUANT
TO FED. R. CIV. P. 7.1 with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to the following email addresses:

Douglas H. Widgor, Esq.
Lawrence M. Pearson, Esq.
Renan F. Varghese, Esq.
Kenneth D. Walsh, Esq.
Wigdor LLP
85 Fifth Avenue
New York, New York 10003



                                              s/ Lorie A. Gettman




{3350.0051 Doc #:01222273;l}                 2
